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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )           CASE NO. 8:02CR353
                                               )
                     Plaintiff,                )
                                               )
       vs.                                     )          AMENDED MEMORANDUM
                                               )               AND ORDER
ROY C. STRAUGHAN,                              )
                                               )
                     Defendant.                )

       This matter is before the Court for a decision on the merits of the Motion Under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody

(Filing No. 619), filed by the defendant, Roy C. Straughan. The government filed an

Answer and a supporting brief. (Filing Nos. 638, 639.) The Defendant filed a Response.

(Filing No. 647.) This Amended Memorandum and Order is in response to the Defendant’s

motion for reconsideration (Filing No. 652) in which he correctly points out that the is issue

he previously raised regarding ineffective assistance of counsel in failing to request a minor

role adjustment is not moot because his counsel successfully challenged the Information

alleging prior convictions filed under 21 U.S.C. § 851.

                                  FACTUAL BACKGROUND

       Straughan was found guilty of a one-count Indictment charging him with conspiracy

to distribute and possess with intent to distribute 50 grams or more of a mixture or

substance containing a detectable amount of cocaine base. (Filing No. 337.) Straughan

was sentenced to 360 months imprisonment and 5 years supervised release. (Filing No.

527.) The Eighth Circuit Court of Appeals affirmed Straughan’s conviction and sentence.

(Filing No. 556.) Straughan timely filed his § 2255 motion. (Filing No. 619.) Upon initial

review, the Court ordered the government to answer the claim relating to the alleged
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ineffective assistance of counsel because counsel did not file a petition for a writ of

certiorari. The remaining claims were summarily dismissed.1 (Filing No. 627.) In his

Response, Straughan also argues that Bianchi did not file a petition for rehearing as

Straughan expected Bianchi to do.2

       Also in his Response, Straughan points out that the Court did not address one of his

eighteen claims in the initial review. In Claim 18, Straughan alleges that counsel was

ineffective for failing to argue for a minimal or minor role adjustment. The issue will be

addressed below on initial review.

       Since Straughan filed his motion to reconsider, his sentence was reduced to 292

months based on the amendments to the crack cocaine guidelines. (Filing No. 677.)

                                        DISCUSSION

       In order to establish ineffective assistance of counsel, Straughan must satisfy both

prongs of the test articulated by the United States Supreme Court in Strickland v.

Washington, 466 U.S. 668 (1984). The performance prong requires a showing that counsel

performed outside the wide range of reasonable professional assistance and made errors

so serious that counsel failed to function as the kind of counsel guaranteed by the Sixth

Amendment. Id. at 687-89. The prejudice prong requires a movant to demonstrate that

seriously deficient performance of counsel prejudiced the defense. Id. at 687.



       1
           However, as noted below, Claim 18 was not addressed.
       2
        Attached to the Response is a copy of an Eighth Circuit order allowing Straughan
an extension of time until October 23, 2006, to file a petition for rehearing and rehearing
en banc. (Filing No. 647, Ex. B.) Also attached is a letter to Straughan from Bianchi in
which Bianchi explains his reasoning for not filing either a petition for rehearing or a petition
for a writ of certiorari. (Filing No. 647, Ex. C.)

                                               2
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Filing of a Petition for Rehearing and a Petition for a Writ of Certiorari

       Straughan alleges that he and his attorney agreed that counsel would file a petition

for rehearing and a petition for a writ of certiorari but that neither one was never filed and

Straughan was not advised of this fact until after the deadline had expired. A. Michael

Bianchi served as Straughan’s appointed counsel under the Criminal Justice Act. In

recently addressing the same issue, the Eighth Circuit explained that the right to trial

counsel is guaranteed under the Sixth Amendment, while the right to appellate counsel falls

under the Fifth Amendment Due Process Clause. Steele v. United States, 518 F.3d 986,

988 (8th Cir. 2008). Due process guarantees one a right to counsel for the initial appeal,

but not for purposes of filing a petition for a writ of certiorari. In addition, a right to counsel

does not exist for discretionary appeals. Ross v. Moffitt, 417 U.S. 600, 610 (1974); Riley

v. Lockhart, 726 F.2d 421, 423 (8th Cir. 1984). A petition for rehearing falls into the

category of discretionary appeals, and therefore Bianchi was not under an obligation to file

the petition for rehearing on Straughan’s behalf. Jackson v. Johnson, 217 F.3d 360, 364

(5th Cir. 2000); Bianchi v. Perry, 154 F.3d 1023, 1024 (9th Cir. 1998); United States v.

Coney, 120 F.3d 26, 28 (3d Cir. 1997); Lucien v. Welborn, 46 F.3d 1133, at *4 (7th Cir.

1995). Without a constitutional right to counsel at either the rehearing or certiorari stage,

one cannot be deprived of effective assistance of counsel. Id.

       Therefore, Straughan cannot prove either prong of the Strickland test, and the claim

that Bianchi was ineffective for failing to file a petition for rehearing and/or rehearing en

banc and a petition for writ of certiorari is denied.




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Role Reduction

       This claim is addressed on initial review. Rule 4(b) of the Rules Governing Section

2255 Proceedings for the United States District Courts requires initial review of a § 2255

motion, and describes the initial review process:

       The judge who receives the motion must promptly examine it. If it plainly
       appears from the motion, any attached exhibits, and the record of prior
       proceedings that the moving party is not entitled to relief, the judge must
       dismiss the motion and direct the clerk to notify the moving party. If the
       motion is not dismissed, the judge must order the United States attorney to
       file an answer, motion, or other response within a fixed time, or to take other
       action the judge may order.

       Straughan argues that his attorney was ineffective for not arguing that he should

have received a minimal or minor role reduction. Straughan’s guideline range was 360

months to life based on a total offense level of 38 and placement in criminal history

category V. A two-level minor role reduction, for example, would have resulted in a

guideline range of 292-365 months. However, a review of the trial evidence shows that

Straughan is not entitled to a minor or minimal role reduction. He made multiple trips with

others to obtain cocaine, cooked crack cocaine, and requested supplies for drug-making

supplies. Therefore, he played a significant role in the offense. United States v. Bush, 352

F.3d 1177, 1182-85 (8th Cir. 2003) (the trial court did not err in denying a minor role

reduction where the defendant sold drugs, allowed her residence to be used for the cooking

of crack cocaine, and bought baking soda for the cookers).

       Straughan cannot meet either prong of the Strickland test and it plainly appears that

he is not entitled to relief on this claim. Claim 18 in the § 2255 motion is summarily denied.




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                                   CONCLUSION

      For the reasons discussed, the § 2255 motion is denied.

      IT IS ORDERED:

      1.    The Defendant’s motion to reconsider (Filing No. 652) is denied;

      2.    The Defendant’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

            Correct Sentence by a Person in Federal Custody (“§ 2255 motion”) (Filing

            No. 619) is denied;

      3.    Specifically, Claim 18 in the § 2255 motion is summarily denied;

      4.    A separate Amended Judgment will be filed; and

      5.    The Clerk is directed to mail a copy of this Amended Memorandum and

            Order to the Defendant at his last known address.

      DATED this 4th day of March, 2009.

                                               BY THE COURT:


                                               s/Laurie Smith Camp
                                               United States District Judge




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